                                      United States District Court
                                       Western District of Texas
                                        San Antonio Division

Reda Ahmed Aoun,
   Petitioner,

    v.                                                        No. 5:25-CV-00430-JKP-HJB

Kristi Noem,
Secretary of the Department of Homeland
Security et al,
   Respondents.

                 Federal 1 Respondents’ Unopposed Motion to Transfer Venue

         Federal Respondents’ respectfully move to transfer venue in this case, pursuant to 28

U.S.C. § 1404(a), to the Southern District of Texas, for the convenience of the parties and in the

interest of justice. The Federal Respondents have conferred with Petitioner’s counsel and agree

that this transfer is in the best interest of all parties, as Petitioner is detained in immigration custody

at La Salle County Regional Detention Center in Encino, Texas, not the South Texas ICE

Processing Center. La Salle County is in the Southern District of Texas, so the proper venue for

this habeas petition is in the Southern District of Texas. The parties are coordinating through

counsel to avoid any unnecessary delay that might have otherwise resulted in transferring the case

to another district. Petitioner, through counsel, has stated no opposition to this motion, as counsel

is already admitted to practice in the Southern District of Texas and is prepared to file an amended

habeas petition upon completion of the transfer.


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    The United States Attorneys’ Office represents only the Federal Respondents (ICE/DHS) in
this action. Neither the warden, nor GEO Group, is herein represented. Because those non-federal
respondents were independently served by the Court, but no attorney has entered an appearance
on their behalf, the undersigned AUSA did not confer with them regarding this motion. In any
event, it is the Federal Respondents, not GEO Group or the named warden in this case, who make
the custodial decisions regarding aliens detained in immigration custody under Title 8 of the United
States Code.
                                                    Respectfully submitted,

                                                    Margaret F. Leachman
                                                    Acting United States Attorney

                                             By:    /s/ Lacy L. McAndrew
                                                    Lacy L. McAndrew
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                                                    lacy.mcandrew@usdoj.gov

                                                    Attorneys for Federal Respondents



                                     Certificate of Conference

       I certify that on May 5, 2025, I conferred by email with Petitioner’s counsel, Robert “Bob”

M. Birach, and he graciously stated no opposition to this motion.


                                                   /s/ Lacy L. McAndrew
                                                   Lacy L. McAndrew
                                                   Assistant United States Attorney

                                       Certificate of Service

       I certify that on May 6, 2025, I served on Petitioner’s counsel by email at bob@cgblegal.com

a courtesy copy of the forgoing Unopposed Motion to Transfer Venue, as he is not yet enrolled in

ECF in this district. Additionally, I mailed courtesy copies to each non-federal respondent at:

       South Texas ICE Processing Center
       566 Veteran Drive
       Pearsall, Texas 78061


                                                   /s/ Lacy L. McAndrew
                                                   Lacy L. McAndrew
                                                   Assistant United States Attorney
                                  United States District Court
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                                            Order

         The Court has considered Respondents’ Unopposed Motion to Transfer venue and finds it

to be meritorious. The motion is accordingly GRANTED.

         The Court GRANTS the Motion and TRANSFERS the case to the Southern District of

Texas.

         IT IS SO ORDERED.

         Signed and entered this __________ day of _____________________, 2025.




                                                        ______________________________
                                                        Henry J. Bemporad
                                                        United States Magistrate Judge
